         Case 1:20-cr-00330-AJN Document 681 Filed 06/26/22 Page 1 of 1




                                                 U.S. Department of Justice

                                                 United States Attorney
                                                 Southern District of New York

                                                    November 17, 2021
                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
BY EMAIL                                           New York, New York 10007


                                                 June 26, 2022

By ECF

The Honorable Alison J. Nathan, Sitting by Designation
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007

       Re:    United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       In response to the Court’s June 26, 2022 Order, the Government respectfully submits the

motion filed by Kate’s attorney that accompanied her impact statement.

                                                 Respectfully submitted,

                                                 DAMIAN WILLIAMS
                                                 United States Attorney


                                           By:       s/
                                                 Maurene Comey
                                                 Alison Moe
                                                 Lara Pomerantz
                                                 Andrew Rohrbach
                                                 Assistant United States Attorneys
                                                 Southern District of New York

Cc: Defense Counsel (by ECF)
